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                                                                  2018 Dec-06 PM 06:14
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




                     Exhibit B
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                                                                                                              EXHIBIT


                                                                                                    L6
                    SETTLEMENT AGREEMENT AM* MUTUAL GENERAL
                                                            RELEASE

                 Blue Rock Partners, LLC ("Blue Rock") and Ashley (Hall) Rich ("Rich")
                                                                                             , Rich's
  heirs, executors, administrators, successors, and assigns (collectively referred
                                                                                   to throughout this
  Agreement as "Employee"), agree that

               1.     Last Dav of Employment        Employee's last day of employment with Blue Rock
  was on or about October 30, 2015.


        2.      Consideration. In consideration for signing this Agreement, and
  complying with its terms, Blue Rock agrees:


                         a. to pay to Employee Five hundred and no/100 dollars ($500.00
                                                                                                ) as wage
                         income, less lawful deductions, within seven (7) days after the later
                                                                                               of: (1) Blue
                         Rock's counsel's receipt of a signed copy of this Agreement; (2)
                                                                                               the United
                         States District Court for the Northern District of Alabama's approval
                                                                                               of this
                         Agreement in Case No. 2:17-cv-01289-RDP.


                         b.   to pay to Employoe five hundred and no/100 (S500.00)
                                                                                   as non-wage
                         income, (to be reported by Employee as 1099 income) within seven
                                                                                               (7) days
                         after the later of: (1) Blue Rock's counsel's receipt of a signed
                                                                                            copy of this
                         Agreement; and (2) the United States District Court for the Northern
                                                                                              District of
                         Alabama's approval of this Agreement in Case No, 2:l7-cv-G1289-RD
                                                                                                P. This
                         includes compensation of two hundred fifty and no/ 100 dollars ($250.00
                                                                                                    ) for
                         executing the general release herein.

                         c.   to pay to Scott Harwell, the gross amount of two thousand
                                                                                        five hundred and
                         no/100 dollars ($2,500,00) for attorneys' fees and costs in
                                                                                     prosecuting fee
                        claims of Employee within seven (7) days after the later of: (1)
                                                                                           Blue Rock's
                        counsel's receipt of a signed copy of this Agreement; and (2) the
                                                                                          United States
                        District Court for the Northern District of Alabama's approva
                                                                                              l of this
                        Agreement in Case No. 2: 1 7-cv-0 1289-RDP. This amount shall be
                                                                                            reported as
                        non-wage income to be reported by Scott Harwell as 1 099 income.

       3.     No Consideration Absent Execution of this Agreement Employe
                                                                                e
understands and agrees that Employee would not receive the monies
                                                                  and/or benefits specified in
paragraph "2" above, except for Employee's execution of this Agreeme
                                                                     nt and the fulfillment of
the promises contained herein, and for Employee's Agreement
                                                                  to Dismiss with prejudice
Employee's claims in Case No, 2: 17-cv-0 1289-RDP, pending in the
                                                                  United States District Court
of the Northern District of Alabama.           Employee will, pursuant to this Agreement, obtain fee
dismissal of all claims she has raised against the Releasees (as defined                                                I
                                                                         below) upon Court approval
of settlement as required by the Fair Labor Standards Act ("FLSA"
                                                                      ).

         4.          Release, Claims Not Released and Related Provisions.


                                                                                                                        i




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                   a       General and Mutual Release of AH Claims. Emplo
                                                                                     yes knowingly and
   voluntarily releases and forever discharges Blue
                                                             Rock, its parent corporation, affiliates,
   subsidiaries, divisions, predecessors, insurers, succes
                                                           sors and assigns, and their current and former
   employees, attorneys, officers, directors and agents thereo
                                                               f both individually and
                                                                                     in their business
   capacities, and their employee benefit plans and progra
                                                           ms and their administrators and fiduciaries
   (collectively referred to throughout the remainder of
                                                         this Agreement as "Releasees"), of and from
   any and all claims, known and unknown, asserte
                                                     d or unasserted, which the Employee has or may
   have against Releasees as of the date of execution
                                                      of this Agreement, including, but not limited to,
   any alleged violation of:


                             -    Title VII of the Civil Rights Act of 1 964,
                                  Sections 198 1 through 1 988 of Title 42 of the United
                                                                                         States Code;
                             *    The Employee Retirement Income Security Act
                                                                                   of 1974
                                  ("ERISA lr) (as modified below);
                             "    The Immigration Reform and Control Act;
                          *       The Americans with Disabilities Act of 1990;
                          *       The Age Discrimination in Employment Act of
                                                                               1967 ("ADEA");
                                 The Worker Adjustment and Retraining Notific
                                                                              ation Act;
                          *      The Fair Credit Reporting Act;
                         *       Hie Family and Medical Leave Act,
                                 TTie Equal Pay Act;
                         *       The Genetic Information Nondiscrimination Act
                                                                                 of 2008,
                                 The Fair Labor Standards Act ("FLSA");
                         *       Alabama "Guns in the Parking Lot Act," Ala.
                                                                             Act 2013-283;
                         *       Alabama workers1 compensation and/or retalia
                                                                              tory discharge s
                                 statutes, Ala. Code § 25-5-11.1 etseq.
                         *       The Alabama Age Discrimination in Emplo
                                                                          yment Act;
                                 The Alabama Affirmative Action Program
                                                                        for Minorities;
                                 The Alabama Wage Payment and Work Hour
                                                                                   Laws;
                                 any other federal, state or local law, rule, regula
                                                                                     tion, or ordinance;
                                 any public policy, contract, tort, or common
                                                                                 law; or
                                 any basis for recovering costs, fees, or other
                                                                                 expenses including
                                 attorneys' fees incurred in these matters.

                                                                                                            I
                b.      Claims Not Released. Employee is not waiving
                                                                     any rights she may
 have to: (a) her own vested accrued emplo
                                           yee benefits under Blue Rock's health, welfar
                                                                                        e,           or
 retirement benefit plans as of the Employee's separa
                                                      tion date; (b) benefits and/or the right to seek
 benefits under applicable workers' compensatio
                                                n and/or unemployment compensation statute
pursue claims which by law cannot be waive                                                       s; (c)
                                                 d by signing this Agreement, (d) enforce
Agreement; and/or (e) challenge the validity of                                           this
                                                this Agreement.

                c.       Non-interference.      Nothing in this Agreement prohibits or
Employee from confidentially or otherwise comm                                                  prevents
                                                      unicating or filing a charge or complaint with or
participating, testifying, or assisting in any invest
                                                      igation, hearing, or giving truthful testimony or
statements to, or participating in any procee
                                              ding before any federal, state, or local gover
                                                                                             nment or




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   regulatory entity, or from responding if properly subpoe                                                      I
                                                            naed or otherwise required to do so under
   applicable law.


                        d.     Attorney's Fees. Employee agrees to release, waive and
                                                                                      forever
   discharge any and all claims against the Releasees for attorne
                                                                 y's fees   and costs pursuant to the Fair
   Labor Standards Act, and/or any other federal, state
                                                        or local statute or ordinance.
                                                                                                                 i


                        e.    Collective/Class Action Waiver. If any claim is not
                                                                                  subject to
  release, to the extent permitted by law, Employee waives
                                                               any right or ability to be a class or
  collective action representative or to otherwise partici
                                                           pate in any putative or certified class,
  collective or multi-party action or proceeding based
                                                       on such a claim in which Blue Rock, or any
  other Releasee identified in this Agreement as a
                                                   party.

                  f.      Mutual Release. Releasees knowingly and volunt
                                                                            arily release and
  forever discharge Employee and agents thereof,
                                                       of and from any and all claims, known and
  unknown, asserted or unasserted, which the Releas
                                                        ees have or may have against Employee and
  agents thereof, as of the date of execution of this Agree
                                                           ment and General Release,

               S.       Acknowledgments and Affirmations.

         Employee affirms that Employee has not filed,
                                                        caused to be filed, and is not     .
  presently a party to any claim against Blue Rock,
                                                    other than those asserted in Case No. 2: 17-cv-
  01289-RDP pending in the United States Distric
                                                 t Court, Northern District of Alabama.

         Blue Rock affirms that it has not filed, caused to
                                                            be filed, and is not presently a party
 to any claim or counterclaim against Employee.


        Employee also affirms that the Consideration describ
                                                               ed in Paragraph 2 above
 compensates her for all hours she worked for
                                                  Releasees through the date of this Agreement.
 Employee affirms that Employee has been grante                                                              i
                                                 d any leave to which Employee was entitled under
 the Family and Medical Leave Act or related state
                                                   or local leave or disability accommodation laws.

          Employee further affirms that Employee has no known
                                                              workplace injuries or
 occupational diseases.


          Employee further affirms that Employee has not
                                                         been retaliated against for
 reporting any allegations of wrongdoing by Blue
                                                 Rock or its officers, including any allegations
                                                                                                 of
 corporate fraud.


                    6        No Right to Employment or Services Relationship
acknowledges and agrees that she has no presen                            . Employee                         I
                                               t or future right to employment with any of the
Releasees, and will not apply or seek consideration
                                                     for any employment, engagement, or contract
with any of them. Employee understands that
                                                should she violate this Paragraph, the Releasees
have no obligation to interview, employ, engage
                                                  or hire her and that any of the Releasees refusa
to do so is not grounds for a legal claim or lawsui                                                l
                                                    t.




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                       7.      Governing Law and Interpretation, This Agreement
                                                                                shall be govern
                                                                                              ed
   and conformed in accordance with the laws of the state of
                                                             Alabama without regard to its conflict
   of laws  provision. In the event of a breach of any provision
                                                                   of this Agreement, either party may
   institute an action specifically to enforce any term or terms
                                                                 of this Agreement and/or to seek any
   damages for breach, Should any provision of this Agreem
                                                               ent be declared illegal or unenforceable
   by any court of competent jurisdiction and cannot be
                                                        modified to be enforceable, excluding the
   general release language, such provision shad immed
                                                        iately become null and void, leaving the
   remain      der of this Agreement in full force and effect.
                                                                                                          !


                 8.      Nonadmission of Wrongdoing. The Parties agree
                                                                                    that neither this
   Agreement nor the furnishing of the consideration for this
                                                              Agreement shall be deemed or construed
   at any time for any purpose as an admission by
                                                  Releasees of wrongdoing or evidence of any
  liability or unlawful conduct of any kind.


                       9.     Amendment. This Agreement may not be modifi
                                                                         ed, altered or change   d
  except in writing and signed by both Parties where
                                                     in specific reference is made to this Agreement.

                10 .    Entire Agreement. This Agreement sets forth
                                                                       the entire agreement
  between the Parties hereto, and fully supersedes
                                                   any prior agreements or understandings betwee
                                                                                                 n
  the Parties. Employee acknowledges that Emplo
                                                     yee has not relied on any representations,
  promises, or agreements of any kind made to Emplo
                                                    yee in connection with Employee's decision
  to accept this Agreement, except for those set
                                                 forth in this Agreement.

                      11.     Counterparts and Facsimiles. This Agreement may
                                                                              be execut    ed in
  counterparts, each ofwhich shall be deemed to be
                                                       an original executed Agreement and which shall
  together shall be deemed to be one and the same
                                                        instrument. A facsimile or copy of a signature
  shall be treated as an original signature for all purpos
                                                           es.

 YOU ARE ADVISED THAT YOU HAVE A
                                   REASONABLE AMOUNT OF TIME TO
 CONSIDER Tins AGREEMENT. YOU ALSO
                                    ARE ADVISED TO CONSULT WITH AN
 ATTORNEY PRIOR TO YOUR SIGNING OF
                                   THIS AGREEMENT. YOU FREELY AND
 KNOWINGLY, AND AFTER DUE CONS
                                     IDERATION, ENTER INTO THIS
 AGREEMENT INTENDING TO WAIVE,
                               SETTLE AND RELEASE ALL CLAIMS YOU
 HAVE OR MIGHT HAVE AGAINST RELE
                                ASEES.

         The Parties knowingly and voluntarily sign this
                                                         Agreement as of the date(s) set
 forth below:




                 r                                          Blue    .idiots
                  i



By:,
     Ashley (Hall) ! li :
                                        L                                        0
                                                                       presentative
Date:    TO

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